           Case
         Case   No.
              No.   1:23-cv-02563 Document
                  1:23-cv-02563-JLK        4 6filed
                                    Document          10/01/23
                                                  filed 10/02/23USDC
                                                                 USDCColorado
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                                                                                  1 of 2 2
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                    DISTRICT
                                                    __________OF COLORADO
                                                               District of __________

  ROCKY MOUNTAIN GUN OWNERS, and ALICIA                               )
                GARCIA                                                )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 23-cv-2563 -JLK
                                                                      )
                       JARED S. POLIS                                 )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jared S. Polis, in his official capacity
                                           c/o Colorado Attorney General's Office
                                           1300 Broadway, 6th Floor
                                           Denver, Colorado 80203




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Barry K. Arrington
                                           Arrington Law Firm
                                           4195 Wadsworth Boulevard
                                           Wheat Ridge, Colorado 80033
                                           Voice: (303) 205-7870
                                           Email: barry@arringtonpc.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:       October 2, 2023                                                                      s/ C. Cuenca
                                                                                         Signature of Clerk or Deputy Clerk
            Case
          Case   No.
               No.   1:23-cv-02563 Document
                   1:23-cv-02563-JLK        4 6filed
                                     Document          10/01/23
                                                   filed 10/02/23USDC
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                                                                                     2 of


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 Civil Action No. 23-cv-2563

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
